                                       UNITED STATES DISTRICT COURT
                                       EASTERN DISTRICT OF LOUISIANA

DONNA LOU, ET AL.                                     *       CIVIL ACTION NO. 21-80

VERSUS                                                *       SECTION “D” (2)

SHERIFF JOSEPH P, LOPINTO,                            *       Judge Wendy B. Vitter
III, ET AL.                                                   Magistrate Judge Donna P. Currault

                             Plaintiffs’ Response to Statement of “Uncontested”
                           Material Facts of Sheriff Lopinto, in his Official Capacity

1.         “The JPSO provided extensive training in all the areas identified in Plaintiffs’ Complaint and
           throughout the entirety of this litigation.”

           Plaintiffs object to this Statement of Facts as it fails to provide any citation to the evidence in the

record supporting this assertion.

           Without waiving this objection, Plaintiffs dispute this assertion. While the JPSO provided certain

training to its deputies, Plaintiffs submit that this training was insufficient to avoid constitutional

violations given that the JPSO deputies restrained an autistic child, in the prone position, for over 9

minutes without utilizing the TARP, RIPP Hobble or moving EP into the recovery position prior to

death.1 Further, the JPSO failed to train its deputies on a central issue in this case, i.e., the appropriate

use of force involving persons with intellectual disabilities, including autism, including those who are

experiencing a sensory meltdown. Finally, despite any training provided by JPSO, it is clear that the

JPSO does not require its deputies to comply with their training as the Internal Affairs does not perform

any review of in-custody deaths to determine compliance with the JPSO’s policies, practices, customs or

training and there is no critical incident review of in-custody deaths. In further support, the Plaintiffs

would state as follows:

           *       The JPSO “training” of their deputies on JPSO written policies, is inadequate as deputies
                   are simply required to acknowledge that they have read the policies and understand them.




1
    R. Doc. 142-8 - Noble Expert Report; Ex. 2 - Debbaubt Expert Report; Ex. 3 - Dr. Sperry Expert Report.



                                                              1
                 There is no requirement that deputies are tested to determine whether they have actually
                 understood or comprehended the written policies.2

         *       The JPSO does not provide training on the use of force or restraining procedures when
                 dealing with autistic persons, 3 does not incorporate any training concerning the RIPP
                 Hobble device when providing training on autistic persons, 4 and does not cover any
                 specific risks to autistic persons of prone restraint or positional asphyxia due to autism.5

         *       The individual Defendants did not have any training on dealing with subjects with autism.6

         *       The JPSO trains deputies that the most important thing to avoid positional asphyxia is to
                 get a person seated upright or on their side in the recovery or modified recovery position
                 once it is safe to do so.7 Deputies are trained to immediately put a subject into the recovery
                 position once it is safe to do so to relieve the compression and dangers of positional
                 asphyxia.8

        Further, as a matter of policy, practice and custom, JPSO does not conduct a critical incident

review or Internal Affairs investigation of in-custody deaths, including in this case, to determine whether

deputies’ actions complied with training and/or policy.9 Instead, Sheriff Lopinto, in his official capacity,

reviewed the videotape of the encounter between EP and JPSO deputies and found that the deputies

actions were consistent with and complied with the JPSO’s policies, practices, customs and training.10

No deputy was disciplined or subject to any counseling or re-training as a result of their actions in this

incident and their behavior was ratified by the Sheriff. As such, the actions of the Individual Defendants




2
  R. Doc. 144-3 - Pizzolato Dep., 30:4-13 (Q. I call that a read and sign. They have to acknowledge that they have gotten it,
and they have to comply with it, correct? A. Yes. Q. And then during instruction, some policies may be brought up, but we
don't have a class on the Jefferson Parish Sheriff's Office policies where you take a written test when you are done? A.
Correct.); R. Doc. 142-3 - Pitfield Dep., 89:12-19; Ex. 4 - Vaught Dep., 72:6-19; Ex. 5 - Mehrtens Dep., 29:1 – 30:6; R. Doc.
105-9 - Vega Dep., 59:14-25;
3
  R. Doc. 151-9 - Voltolina Dep., 44:14-45:3; 45:23-46:7; 63:1-8.
4
  Id. at 87:11-18.
5
  R. Doc. 151-9 -Voltolina Dep., 93:22-94:13; Ex. 2 - Debbaudt Report, pp. 7-10.
6
   R. Doc. 142-3 Pitfield Dep., 155:7-13; Ex. 4 - Vaught Dep., 75:3-12; Ex. 5 -Mehrtens Dep., 21:10-14; 42:3-24; Ex. 6 -
Guidry Dep., 29:17-23; R. Doc 105-9 - Vega Dep., 76:18-21; Ex. 7 - Estrada Dep., 20:22-24; 21:17-20; Ex. 8 – Gaudet Dep.,
48:12-15; 49: 11-17 (Deputy Gaudet testified that he received some training on autism during CIT classes but no such training
from the coroner’s office); Ex. 27 – Deputies’ Training Resumes.
7
  R. Doc. 144-3 - Pizzolato Dep., 76:5-77:6.
8
  Id. at 70:24-71:5; 71:15-72:9.
9
   Ex. A Blackwell Dep., 18:12-19:9; 23:12-25; 24:6-8; 26:2-9; 30:3-17; 56:9-13; R. Doc 21-4 – Lopinto Response to
Interrogatory # 4 & 6, pp. 2-13.
10
   R. Doc. 150 – 150-5 – Plaintiffs’ Motion for Partial Summary Judgment on Ratification.



                                                             2
during their encounter with EP represent the actual, de facto policies, practices, customs and training of

the JPSO in all respects.

2.       The JPSO trains its Deputies in the laws and policies governing the seizure of a person,
         including the use of force. See Corporate Deposition of JPSO Sergeant Pizzalota, attached
         as Exhibit 1, at 100-101, 103-109, 117-119, 161-163, 174-175.

         It is undisputed that JPSO provides some training on the topic of “seizure of a person, including

the use of force.”

         It is disputed that the JPSO training is sufficient to avoid constitutional violations or that JPSO

requires deputies to comply with whatever training is provided based on the following:

         Sgt. Pizzolato was JPSO’s corporate representative on training who taught use of force, de-

escalation, and the RIPP hobble.11 Sgt. Pizzolato’s training did not include training for dealing with

persons with intellectual disabilities, including autism, or compliance with the ADA.12 Instead, Sgt.

Voltolina was the JPSO’s corporate representative on training regarding compliance with the ADA/RA,

including the identification and handling of persons with disabilities in crisis.13 Sgt. Voltolina was also

JPSO’s corporate representative on “how to handle a person who has mental illness or disability,

including autism and any accommodations provided to EP.14

         Sgt. Voltolina testified that the JPSO does not provide training on the use of force or restraint

procedures when dealing with autistic persons,15 does not incorporate any training concerning the RIPP

Hobble device when providing training on autistic persons,16 and does not cover any specific risks to

autistic persons of prone restraint or positional asphyxia due to autism.17

         Further, as a matter of policy, practice and custom, JPSO does not conduct a critical incident

review or Internal Affairs investigation of in-custody deaths, including in this case, to determine whether


11
   R. Doc. 144-3 - Pizzolato Dep, 7:8-8:25.
12
   Id. at 117:4-6 (Q. You don't provide any training on autism yourself. This isn't your topic of autism? A. Correct).
13
   R. Doc. 151-9 - Voltolina Dep., 18:2-14.
14
   Id. at 18:2-14.
15
   Id. at 44:14-45:3; 45:23-46:7; 63:1-8.
16
   Id. at 87:11-18.
17
   R. Doc. 151-9 - Voltolina Dep., 93:22-94:13; Ex. 2 - Debbaudt Report, pp. 7-10.



                                                               3
deputies’ actions complied with training and/or policy.18 Instead, Sheriff Lopinto, in his official capacity,

reviewed the videotape of the encounter between EP and JPSO deputies and found that the deputies

actions were consistent with and complied with the JPSO’s policies, practices, customs and training..19

No deputy was disciplined or subject to any counseling or re-training as a result of their actions in this

incident and their behavior was ratified by the Sheriff. As such, the actions of the Individual Defendants

during their encounter with EP represent the actual, de facto policies, practices, customs and training of

the JPSO in all respects.

3.      The JPSO trains its Deputies in the use of choke holds, which are strictly prohibited unless
        absolutely necessary to preserve life. See Corporate Deposition of JPSO Sergeant Pizzalota,
        attached as Exhibit 1, at 55-58, 97, 129.

        It is undisputed that JPSO provides some training on the topic of “chokeholds” and that JPSO

considers them a deadly force application that can only be used when absolutely necessary to preserve

life.

        It is disputed that JPSO training is sufficient to avoid constitutional violations or that JPSO

requires deputies to comply with this training based on the following:

        Deputy Vega employed a choke hold to E.P. which significantly impacted E.P.’s airway and

ability to breathe.20 There was no consequence, no counseling, no disciplinary action or re-training of

Deputy Vega or the other deputies regarding Vega’s use of a choke hold on E.P. Deputy Vega and other

JPSO deputies had been previously sued for improperly utilizing a choke hold on another occasion.21 In

addition, no deputies intervened to prevent or stop Deputy Vega from applying a choke hold on EP.




18
   Ex. 1 - Blackwell Dep., 18:12-19:9; 23:12-25; 24:6-8; 26:2-9; 30:3-17; 56:9-13; R. Doc 21-4 – Lopinto Response to
Interrogatory # 4 & 6, pp. 2-13.
19
   R. Doc. 150 – 150-5 – Plaintiffs’ Motion for Partial Summary Judgment on Ratification.
20
   R. Doc. 142-7 - Sperry Report Excerpt - (“The physical findings at autopsy confirm that Vega utilized a “forearm bar”
choke hold which significantly impacted [E.P.]’s airway and ability to breathe.”)
21
   Ex. 26 - Blum, et al. v. Norman, et. al; Case No. 09-2327 (USDC ED LA) (“¶ 15. Suddenly and without warning, as the
plaintiff, BLUM, began to walk away from the defendants, he was grabbed from behind by the head and thrown to the ground
by one or more of the defendants. One of the defendants then proceeded to choke him. While being choked, he was punched
multiple times in his body by two of the other defendants.”)



                                                           4
        Further, as a matter of policy, practice and custom, JPSO does not conduct a critical incident

review or Internal Affairs investigation of in-custody deaths, including in this case, to determine whether

deputies’ actions complied with training and/or policy.22 Instead, Sheriff Lopinto, in his official capacity,

reviewed the videotape of the encounter between EP and JPSO deputies and found that the deputies’

actions were consistent with and complied with the JPSO’s policies, practices. customs and training

during their encounter with EP.23 No deputy was disciplined or subject to any counseling or re-training

as a result of their actions in this incident and their behavior was ratified by the Sheriff. As such, the

actions of the Individual Defendants during their encounter with EP represent the actual, de facto policies,

practices, customs and training of the JPSO in all respects.

4.      The JPSO trains its Deputies in the use of defensive tactics and martial arts holds, which
        again exclude the use of choke holds. Id. at 128-129.

        It is undisputed that JPSO provides some training on the topic of “defensive tactics and martial

arts holds.”

        It is disputed that the JPSO training is sufficient to avoid constitutional violations or that JPSO

requires deputies to comply with whatever training is provided based on the following:

        With respect to martial arts holds, the JPSO trains deputies that they can use martial arts holds

around the head, but not the neck.24 In particular, the JPSO trains deputies that they can utilize a head

hold to control the head by placing “one hand on one ear and one hand on the other ear and hold it

straight.” 25 Despite this training, Deputy Vega employed a choke hold to EP which significantly

impacted EP’s airway and ability to breathe.26 Further, while Deputy Vega denies he performed a choke

hold, his description of the hold he utilized on EP is inconsistent with the training JPSO claims that they



22
   Ex. 1 - Blackwell Dep., 18:12-19:9; 23:12-25; 24:6-8; 26:2-9; 30:3-17; 56:9-13; R. Doc 21-4 – Lopinto Response to
Interrogatory # 4 & 6, pp. 2-23
23
   R. Doc. 150 – 150-5 – Plaintiffs’ Motion for Partial Summary Judgment on Ratification.
24
   R. Doc. 144-3 - Pizzolato Dep., 128:8-129:22.
25
   Id. 129:10-14.
26
   R. Doc. 142-7 (Sperry Report Excerpt) (“The physical findings at autopsy confirm that Vega utilized a “forearm bar” choke
hold which significantly impacted [E.P.]’s airway and ability to breathe.”)



                                                             5
give regarding authorized head holds to all deputies.27 Further, Deputy Vega and other deputies have

been previously sued for improperly utilizing a choke hold on another occasion. 28 In addition, no

deputies intervened to prevent or stop Deputy Vega from applying a choke hold on EP.

         Further, as a matter of policy, practice and custom, JPSO does not conduct a critical incident

review or Internal Affairs investigation of in-custody deaths, including in this case, to determine whether

deputies’ actions complied with training and/or policy.29 Instead, Sheriff Lopinto, in his official capacity,

reviewed the videotape of the encounter between EP and JPSO deputies and found that the deputies

actions were consistent with and complied with the JPSO’s policies, practice, customs and training..30

No deputy was disciplined or subject to any counseling or re-training as a result of their actions in this

incident and their behavior was ratified by the Sheriff. As such, the actions of the Individual Defendants

during their encounter with EP represent the actual, de facto policies, practices, customs and training of

the JPSO in all respects.

5.       The JPSO trains its Deputies in passive and active resistance and in confronting. Id. at 79-
         82.31

         It is undisputed that JPSO provides some training on the topic of “passive and active resistance.”

         It is disputed that the JPSO’s training is sufficient to avoid constitutional violations or that JPSO

requires deputies to comply with this training based on the following:

         Sgt. Pizzolato testified that there is no “definition” of active and passive resistance provided to

deputies in training.32 According to Sgt. Pizzolato, whenever a deputy resorts to going “hands on” with




27
   R. Doc., 18-5 - Vega Statement, p. 6 (“And he’s trying to get up and he’s trying to turn and get me off, so I put my forearm
right here, underneath his chin to try to maintain some control and to keep him from hitting his head…); R. Doc 105-9 -Vega
Dep., 129:16-130:24 (testifying that he had his right bicep against the right side of EP’s face, right arm underneath EP’s chin
and then attached right hand to left wrist).
28
   Ex. 26 - Blum, et al. v. Norman, et. al; Case No. 09-2327 at ¶ 15 (USDC ED LA).
29
   Ex. 1 - Blackwell Dep., 18:12-19:9; 23:12-25; 24:6-8; 26:2-9; 30:3-17; 56:9-13; R. Doc 21-4 – Lopinto Response to
Interrogatory # 4 & 6, pp. 2-13.
30
   R. Doc. 150 – 150-5 – Plaintiffs’ Motion for Partial Summary Judgment on Ratification.
31
   This statement appears to be incomplete as there is no explanation or description for the term “confronting.” It is disputed
that JPSO deputies are trained in “confronting”, whatever that is.
32
   R. Doc. 44-3 - Pizzolato Dep., 80:21-80:25.



                                                              6
a subject, this represents active resistance.33 Sgt. Pizzolato testified that a protestor sitting on the street

who refuses to move is engaging in active resistance for which intermediate uses of force, such as a

baton, OC spray and Taser can be utilized. 34 Further, this training fails to take into consideration a

subject’s inability to properly understand or respond to commands, especially persons with intellectual

disabilities such as autism, or persons suffering from oxygen deficiency like EP as noted by Plaintiffs’

expert, Dr. Sperry.35

         Further, as a matter of policy, practice and custom, JPSO does not conduct a critical incident

review or Internal Affairs investigation of in-custody deaths, including in this case, to determine whether

deputies’ actions complied with training and/or policy.36 Instead, Sheriff Lopinto, in his official capacity,

reviewed the videotape of the encounter between EP and JPSO deputies and found that the deputies

actions were consistent with and complied with the JPSO’s policies, practices, customs and training

during their encounter with EP.37 No deputy was disciplined or subject to any counseling or re-training

as a result of their actions in this incident and their behavior was ratified by the Sheriff.. As such, the

actions of the Individual Defendants during their encounter with EP represent the actual, de facto policies,

practices, customs and training of the JPSO in all respects.

6.       The JPSO trains its Deputies in de-escalation techniques when dealing with the public. Id.
         at 83-84, 110-112.




33
   R. Doc. 14403 - Pizzolato Dep., 81:5-19; 82:1-83:3.
34
   Id. at 82:1-83:3
35
   Ex.3 – Dr. Sperry Expert Report – which notes: 1) “While [EP] made certain movements while being restrained by Pitfield,
it is my opinion that these movements were not willful, active resistance or efforts to harm the officers, but behavioral
manifestations of his autism and evidence of oxygen deficiency which was resulting from his continuous and prolonged
restraint.” (Page 4); 2) “Again, at this time, it doesn’t appear that [EP] is offering any real resistance or danger to the deputies.
As previously noted, the actions of [E.P.] appear to be consistent with the physical manifestation of his SASD and oxygen
deficiency stemming from the prolonged restraint.” (Page 6); and 3) “The inability of the autistic person to understand and
comprehend commands, and especially an individual with Severe Autistic Spectrum Disorder, who are confronted by or
otherwise involved in an incident with law enforcement officers, can result in disaster if the officer(s) decide to continue to
utilize a prone restraint against an obese, severely autistic person.” (Page 11).
36
   Ex. 1 - Blackwell Dep., 18:12-19:9; 23:12-25; 24:6-8; 26:2-9; 30:3-17; 56:9-13; R. Doc 21-4 – Lopinto Response to
Interrogatory # 4 & 6, pp. 2-13.
37
   R. Doc. 150 – 150-5 – Plaintiffs’ Motion for Partial Summary Judgment on Ratification.



                                                                 7
        It is undisputed that JPSO provides some training on the topic of “de-escalation techniques when

dealing with the public.”

        It is disputed that the training is sufficient to avoid constitutional violations or that JPSO requires

deputies to comply with this training.

        The JPSO does not provide training on the use of force or restraining procedures when dealing

with autistic persons, 38 does not incorporate any training concerning the RIPP Hobble device when

providing training on autistic persons,39 and does not cover any specific risks to autistic persons of prone

restraint or positional asphyxia due to autism.40

        At deposition, JPSO’s 30(b)(6) witness testified about a training module used by JPSO in

association with the Jefferson Parish Coroner’s Office (JPCO) to train deputies. The witness was asked

about the title of the training, and he testified: “I think it's Deescalation with Autism.”41 He testified that

JPSO does not possess a copy of the training: it is a document that the coroner brings.42 Plaintiffs sent a

subpoena to the coroner’s office for their training materials. There was no training entitled “Deescalation

with Autism” or anything similar in the coroner’s subpoena return.

        Regardless of whether this particular training block exists, the Individual Defendants did not have

any training on dealing with autistic persons from the JPCO.43 Plaintiffs dispute that the JPSO provided

any training with respect to de-escalation with autistic persons.

        Further, as a matter of policy, practice and custom, JPSO does not conduct a critical incident

review or Internal Affairs investigation of in-custody deaths, including in this case, to determine whether




38
   R. Doc. 151-9 - Voltolina Dep., 44:14-45:3; 45:23-46:7; 63:1-8.
39
   Id. at 87:11-18.
40
   R. Doc 151-9 - Voltolina Dep., 93:22-94:13; Ex. 2 - Debbaudt Report, pp. 7-10.
41
   R. Doc. 151-9 – Voltolina Dep., 48:11.
42
   Id. at 55:5-10 (“Q. So the Deescalation with Autism PowerPoint presentation is something the coroner brings to JPSO, does
the training and leaves with them, and JPSO never gets a copy of it? Is that correct? A. Correct.”)
43
   R. Doc. 142-3 Pitfield Dep., 155:7-13; Ex. 4 - Vaught Dep., 75:3-12; Ex. 5 -Mehrtens Dep., 21:10-14; 42:3-24; Ex. 6 -
Guidry Dep., 29:17-23; R. Doc 105-9 - Vega Dep., 76:18-21; Ex. 7 - Estrada Dep., 20:22-24; 21:17-20; Ex. 8 – Gaudet Dep.,
48:12-15; 49: 11-17 (Deputy Gaudet testified that he received some training on autism during CIT classes but no such training
from the coroner’s office).



                                                             8
deputies’ actions complied with training and/or policy.44        Instead, Sheriff Lopinto, in his official

capacity, reviewed the videotape of the encounter between EP and JPSO deputies and found that the

deputies actions were consistent with and complied with the JPSO’s policies, practices, customs and

training during their encounter with EP.45        No deputy was disciplined or subject to any counseling or

re-training as a result of their actions in this incident and their behavior was ratified by the Sheriff. As

such, the actions of the Individual Defendants during their encounter with EP represent the actual, de

facto policies, practices, customs and training of the JPSO in all respects.

7.       The JPSO trains its Deputies in dealing with emotionally disturbed persons. Id., at 114-115.

        It is undisputed that the JPSO provides some training on “dealing with emotionally disturbed

persons” during RIPP Hobble training.

        It is disputed that the training is sufficient to avoid constitutional violations or that JPSO requires

deputies to comply with this training based on the following:

        The JPSO provides training on dealing with emotionally disturbed persons during RIPP Hobble

training including persons who are suffering from cocaine psychosis, excited delirium and/or mental

illness.46 This training includes: 1) recognition of the problem; 2) treatment/handling – subject is placed

in the seated position; 3) transport in car or ambulance; 4) medical attention, preferably by a health care

provider; 5) communication to jail about the condition of the subject; and 6) observation while in custody

of jail.47 EP suffered from an intellectual disability and was not an “emotionally disturbed person.” EP

did not have “cocaine psychosis,” “excited delirium” (which is disputed as an actual, valid medical

condition) or mental illness. The JPSO training in “dealing with emotionally disturbed persons” did not

include persons with intellectual disabilities including autism.




44
   Ex. 1 - Blackwell Dep., 18:12-19:9; 23:12-25; 24:6-8; 26:2-9; 30:3-17; 56:9-13; R. Doc 21-4 – Lopinto Response to
Interrogatory # 4 & 6, pp. 2-13.
45
   R. Doc. 150 – 150-5 – Plaintiffs’ Motion for Partial Summary Judgment on Ratification.
46
   Ex. 10 - RIPP Hobble Training Power Point.
47
   Ex. 10 - RIPP Hobble Training Power Point, pp. 41-43.



                                                         9
         Further, as a matter of policy, practice and custom, JPSO does not conduct a critical incident

review or Internal Affairs investigation of in-custody deaths, including in this case, to determine whether

deputies’ actions complied with training and/or policy.48 Instead, Sheriff Lopinto, in his official capacity,

reviewed the videotape of the encounter between EP and JPSO deputies and found that the deputies

actions were consistent with and complied with the JPSO’s policies, practices, customs and training. .49

No deputy was disciplined or subject to any counseling or re-training as a result of their actions in this

incident and their behavior was ratified by the Sheriff. As such, the actions of the Individual Defendants

during their encounter with EP represent the actual, de facto policies, practices and customs of the JPSO

in all respects.

8.       The JPSO trains its Deputies in confronting people exhibiting signs of what is often referred
         to as Excited Delirium, which was a contributing cause of death in this case. Id., at 40-46,
         48-53, 130-131.

         It is undisputed that JPSO provides some training on what it describes as “Excited Delirium”

during RIPP Hobble training.

         It is disputed that the training is proper and/or sufficient to avoid constitutional violations or that

JPSO requires deputies to comply with this training based on the following:

         It is disputed that Excited Delirium was a contributing cause of death in this case.50

         It is further disputed that Excited Delirium is an actual, valid medical condition. Excited Delirium

as a medical condition has been rejected by the American Medical Association, 51 the American




48
   Ex. 1 - Blackwell Dep., 18:12-19:9; 23:12-25; 24:6-8; 26:2-9; 30:3-17; 56:9-13; R. Doc 21-4 – Lopinto Response to
Interrogatory # 4 & 6, pp. 2-13.
49
   R. Doc. 150 – 150-5 – Plaintiffs’ Motion for Partial Summary Judgment on Ratification.
50
   Ex. 3 – Dr. Sperry Report – “Excited Delirium is not a valid cause of death and [EP] did not exhibit any of the vast array of
alleged symptoms of Excited Delirium.” (PAGE 7); “Excited Delirium is not uniformly accepted in forensic medicine and
forensic pathology as a valid cause of death…” (PAGE 8); “[EP] did NOT die of the Excited Delirium Syndrome, and
furthermore, that the utilization of this syndromic diagnosis is improper and should not be used to explain [EP]’s death.”
(PAGE 12).
51
   Ex. 11 - AMA Position Statement on Excited Delirium, p. 11 (June 2021) (“Believes that the current evidence does not
support “excited delirium” or “excited delirium syndrome” as a medical diagnosis and opposed the use of the terms until a
clear set of diagnostic criteria are validated.”)



                                                              10
Psychiatric Association, 52 the National Association of Medical Examiners, 53 the Royal College of

Pathologists54 and Physicians for Human Rights.55 Instead, Excited Delirium is a term utilized by law

enforcement to justify the in-custody death of individuals who are restrained by law enforcement.56

        Sgt. Pizzolato testified that “excited delirium is a psychological event caused by… the

introduction of substances into the body.” 57 Sgt. Pizzolato acknowledged that both the American

Medical Association and American Psychiatric Association reject “excited delirium” as a medical

diagnosis.58 However, JPSO deputies are trained that if they observed signs or symptoms of “excited

delirium,” it is a medical emergency and health care personnel should be called to the scene.59 Deputies

are trained that persons experiencing “excited delirium” are at risk of death from being restrained in the

prone position.60 Further, deputies are trained that obese persons and persons suffering from diminished

capacity and obesity are particularly at risk when restrained in the prone position.61




52
   Ex. 12 - APA Position Statement on Excited Delirium, p. 1 (December 2020) (“Police responses to call for behavioral health
crisis have been known to have tragic outcomes, including injury or death. The concept of “excited delirium” or “excited
delirium” (also referred to as “excited delirium syndrome (ExDs) has been invoked to explain or justify injury or death to
individuals in police custody…. APA has not recognized excited delirium as a mental disorder, and it is not included in the
Diagnostic and Statistical Manual of Mental Disorders… 1. The term “excited delirium” (ExDs) is too non-specific to
meaningfully describe or convey information about a person. “Excited delirium” should not be used until a clear set of
diagnostic criteria are validated.”
53
   Ex. 13 – National Association of Medical Examiners Position Statement on Excited Delirium (March 2023) (“Although
the terms “Excited Delirium” or “Excited Delirium Syndrome” have been used by forensic pathologists as a cause of death
in the past, there terms are not endorsed by NAME or recognized in the renewed classification of WHO, ICD-10, and DSM-
V.)
54
   Ex. 14 - Royal College of Pathologists, “The Use of ‘Excited Delirium’ as a Cause of Death,” p. 3 (2020) (“‘Excited
Delirium’ should never be used as a term that, by itself, can be identified as the cause of death. The use of Excited Delirium
as a term in guidance to police officers should also be avoided.”
55
   Physicians for Human Rights, “‘Excited Delirium’ and Deaths in Police Custody,” p. 6 (March 2020) (“PHR holds that
“excited delirium” is a descriptive term of myriad symptoms and signs, not a medical diagnosis, and, as such, should not be
cited as a cause of death.”
56
   Ex. 3 - Sperry Report, p. 8 – (“ExDs has and still is used by some law enforcement agencies in order to attempt to explain
a negative outcome, up to and including death, that results from forcibly restraining someone. In any event, [E.P.] did not
meet the ever changing and ill-defined characteristics of Excited Delirium as [EP] did not have an extremely elevated body
temperature, was not under the influence of illegal drugs and his behavior was not out of character but represented the
behavioral manifestations of his SASD.”)
57
   R. Doc. 144-3 - Pizzolato Dep., 38:25-29-3.
58
   Id. at 39:4-40:9.
59
   Id. at 45:5-45:25.
60
   Id. at 52:21-24.
61
   Id. at 53:19-24.



                                                             11
         Further, as a matter of policy, practice and custom, JPSO does not conduct a critical incident

review or Internal Affairs investigation of in-custody deaths, including in this case, to determine whether

deputies’ actions complied with training and/or policy.62 Instead, Sheriff Lopinto, in his official capacity,

reviewed the videotape of the encounter between EP and JPSO deputies and found that the deputies’

actions were consistent with and complied with the JPSO’s policies, practices. customs and training.

despite the fact that EP was obese and the deputies knew that he was autistic and “special needs.” 63 No

deputy was disciplined or subject to any counseling or re-training as a result of their actions in this

incident and their behavior was ratified by the Sheriff. As such, the actions of the Individual Defendants

during their encounter with EP represent the actual, de facto policies, practices, customs and training of

the JPSO in all respects.

9.       The JPSO trains its Deputies in providing medical attention to those in need. Id., at 129,
         131-133.

         It is undisputed that the JPSO provides some training on “providing medical attention to those in

need.”

         It is disputed that the training is sufficient to avoid constitutional violations or that JPSO requires

deputies to comply with this training based on the following:

         Sgt. Pizzolato testified that JPSO deputies are trained in CPR, Narcan and the use of torniquets.64

Further, deputies are trained to monitor a person’s breathing frequently once they have been restrained.65

To monitor a person’s breathing, deputies are trained to place hand on person’s back to feel if they are

breathing or visually observe back rising and falling. 66 There is no specific training pertaining to

checking a person’s breathing at certain intervals.67 Deputies are not trained to check for a pulse unless



62
   Ex. 1 - Blackwell Dep., 18:12-19:9; 23:12-25; 24:6-8; 26:2-9; 30:3-17; 56:9-13; R. Doc 21-4 – Lopinto Response to
Interrogatory # 4 & 6, pp. 2-13.
63
   R. Doc. 150 – 150-5 – Plaintiffs’ Motion for Partial Summary Judgment on Ratification.
64
   R. Doc. 144-3 - Pizzolato Dep., 131:5-8.
65
   R. Doc. 151-9 - Voltolina Dep., 79:2-11; 80:19-90:1.
66
   Id. at 82:25-83:7.
67
   Id. at 83:8-14.



                                                        12
a person becomes limp. 68 Deputies are also trained on recovery position, i.e., “After takedown, the

individual should be turned on his or her side and be transferred into an upright position as soon as

possible to allow normal breathing to occur.”69

        Further, as a matter of policy, practice and custom, JPSO does not conduct a critical incident

review or Internal Affairs investigation of in-custody deaths, including in this case, to determine whether

deputies’ actions complied with training and/or policy.70 Instead, Sheriff Lopinto, in his official capacity,

reviewed the videotape of the encounter between EP and JPSO deputies and found that the deputies

actions were consistent with and complied with the JPSO’s policies, practices, customs and training .71

No deputy was disciplined or subject to any counseling or re-training as a result of their actions in this

incident, and their behavior was ratified by the Sheriff. As such, the actions of the Individual Defendants

during their encounter with EP represent the actual, de facto policies, practices, customs and training of

the JPSO in all respects.

10.     The JPSO trains its Deputies that the hogtying technique is strictly prohibited. Id., at 74, 89.

        It is undisputed that the JPSO trains that hogtying is strictly prohibited during RIPP Hobble

training and E.P. was not hog-tied.

11.     The JPSO trains its Deputies in restraining persons in the prone position. Id., at 53-55, 64-
        66, 68, 70, 76, 91, 135, 172.

        It is undisputed that the JPSO provides some training on “restraining persons in the prone

position” during RIPP Hobble training.

        It is disputed that the training is sufficient to avoid constitutional violations or that JPSO requires

deputies to comply with this training based on the following:




68
   R. Doc. 151-9 - Voltolina Dep., 87:19-88:16.
69
   Id. at 75:1-77:25.
70
   Blackwell Dep., 18:12-19:9; 23:12-25; 24:6-8; 26:2-9; 30:3-17; 56:9-13; R. Doc 21-4 – Lopinto Response to Interrogatory
# 4 & 6, pp. 2-13.
71
   R. Doc. 150 – 150-5 – Plaintiffs’ Motion for Partial Summary Judgment on Ratification.



                                                           13
        Sgt. Pizzolato was JPSO’s corporate representative on training who taught use of force, de-

escalation, and the RIPP hobble.72 Sgt. Pizzolato’s training did not include training for dealing with

persons with intellectual disabilities, including autism, or compliance with the ADA.73 Instead, Sgt.

Voltolina was the JPSO’s corporate representative on training regarding compliance with the ADA/RA,

including the identification and handling of persons with disabilities in crisis.74 Sgt. Voltolina was also

JPSO’s corporate representative on “how to handle a person who has mental illness or disability,

including autism and any accommodations provided to EP.75

        Sgt. Voltolina testified that the JPSO does not provide training on the use of force or restraining

procedures when dealing with autistic persons,76 does not incorporate any training concerning the RIPP

Hobble device when providing training on autistic persons,77 and does not cover any specific risks to

autistic persons of prone restraint or positional asphyxia due to autism.78

        During RIPP Hobble training, JPSO trains deputies to never leave suspects in the prone position

to avoid positional asphyxia.79 JPSO trains its deputies to place persons in the recovery position (on side

or seated upright) after prone restraint to allow them to breathe to avoid positional asphyxia.80 With

respect to the prone position, JPSO trains its deputies in the following: 1) the prone position can cause

respiratory compromise;81 2) placing weight on a person’s back can restrict breathing and the bellows

action;82 3) prone restraint causes the diaphragm muscle to be compressed against the ground which

restricts breathing;83 4); this restriction on breathing can impact the exchange of gases (O2/CO2) in the



72
   R. Doc. 144-3 - Pizzolato Dep, 7:8-8:25.
73
   Id. at 117:4-6 (Q. You don't provide any training on autism yourself. This isn't your topic of autism? A. Correct).
74
   R. Doc. 151-9 - Voltolina Dep., 18:2-14.
75
   Id. at 18:2-14.
76
   Id. at 44:14-45:3; 45:23-46:7; 63:1-8.
77
   Id. at 87:11-18.
78
   R. Doc. 151-9 – Voltolina Dep., 93:22-94:13; Ex. 2 - Debbaudt Report, pp. 7-10.
79
   R. Doc. 144-3 - Pizzolato Dep., p. 64:9-12 - (Q. When do you train them to put them in the recovery position? A. I train
them never to leave anybody in a prone position); Id. at 68:1-2 – (A. I train to not leave somebody in a prone position).
80
   Id. at 63:15-18.
81
   Id. at 65:18-20.
82
   Id. at 63:8-63:19.
83
   Id. at 66:19-67.



                                                            14
lungs and result in oxygen deficiency;84 and 5) when oxygen deficiency occurs, a person may struggle

more violently. 85 To prevent potential death from positional asphyxia, the RIPP Hobble training

recommends that deputies use the “SWARM” technique on violent prisoners which instructs deputies to

take a suspect down and then “apply a hobble restraint to the ankles and roll the subject into an upright

seated position…. Position the subject so that he or she can lean back against a fixed object. This helps

relieve pressure on the diaphragm and make breathing easier.86

        The JPSO trains deputies that the most important thing to avoid positional asphyxia is to get a

person seated upright or on their side in the recovery or modified recovery position once it is safe to do

so.87 The JPSO does not train regarding a specific amount of time that deputies can restrain a subject in

the prone position, but that deputies should immediately put a subject into the recovery position once it

is safe to do so to relieve the compression and dangers of positional asphyxia.88

        In RIPP Hobble training, JPSO trains its deputies that they can control a suspect in the recovery

position.89 JPSO trains deputies that a significant factor in gaining control of a person being restrained

in the prone position is whether they have been handcuffed.90 JPSO trains its deputies that to decrease

the risks associated with prone restraint, the remedy is simple – get pressure off the back.91 Sgt. Pizzolato

acknowledged that if you have 6 deputies on a scene, even if the subject’s legs are not restrained, this is

a sufficient number of deputies to restrain someone in the recovery position and avoid the dangers of

positional asphyxia.92

        Further, as a matter of policy, practice and custom, JPSO does not conduct a critical incident

review or Internal Affairs investigation of in-custody deaths, including in this case, to determine whether


84
   R. Doc. 144-3 - Pizzolato Dep., 63:11-14.
85
   Id. at 68:14-23.
86
   Ex. 10 – RIPP Hobble Training, pp. 46-47.
87
   R. Doc. 144-3 - Pizzolato Dep., 76:5-77:6.
88
   Id. at 70:24-71:5; 71:15-72:9.
89
   Id. at 62:25-63:2.
90
   Id. at 69:16-22.
91
   Id. at 66:4-8.
92
   Id. at 90:21-94:19.



                                                     15
deputies’ actions complied with training and/or policy.93        Instead, Sheriff Lopinto, in his official

capacity, reviewed the videotape of the encounter between EP and JPSO deputies and found that the

deputies’ actions were consistent with and complied with the JPSO’s policies, practices, customs and

training.94 No deputy was disciplined or subject to any counseling or re-training as a result of their

actions in this incident and their behavior was ratified by the Sheriff. As such, the actions of the

Individual Defendants during their encounter with EP represent the actual, de facto policies, practices,

customs and training of the JPSO in all respects.

12.     The JPSO trains its Deputies when and how to place persons in a recovery position. See
        Exhibit 1, at 62-66, 69-73, 77, 91, 94.

        It is undisputed that the JPSO provides some training on “when and how to place persons in a

recovery position.” It is disputed that the training is sufficient to avoid constitutional violations or that

JPSO requires deputies to comply with this training based on the following:

        The JPSO does not provide training on the use of force or restraining procedures when dealing

with autistic persons, 95 does not incorporate any training concerning the RIPP Hobble device when

providing training on autistic persons,96 and does not cover any specific risks to autistic persons of prone

restraint or positional asphyxia due to autism.97

        The JPSO does not train regarding a specific amount of time that deputies can restrain a subject

in the prone position, but that deputies should immediately put a subject into the recovery position once

it is safe to do so to relieve the compression and dangers of positional asphyxia.98




93
   Ex. 1 - Blackwell Dep., 18:12-19:9; 23:12-25; 24:6-8; 26:2-9; 30:3-17; 56:9-13; R. Doc 21-4 – Lopinto Response to
Interrogatory # 4 & 6, pp. 2-13.
94
   R. Doc. 150 – 150-5 – Plaintiffs’ Motion for Partial Summary Judgment on Ratification.
95
   R. Doc. 151-9 - Voltolina Dep., 44:14-45:3; 45:23-46:7; 63:1-8.
96
   Id. at 87:11-18.
97
   Id. at 93:22-94:13; Ex. 2 - Debbaudt Report, pp. 7-10.
98
   R. Doc. 144-3 - Pizzolato Dep., 70:24-71:5; 71:15-72:9.



                                                        16
         During RIPP Hobble training, JPSO trains deputies to never leave suspects in the prone position

to avoid positional asphyxia.99 JPSO trains its deputies to place persons in the recovery position (on side

or seated upright) after prone restraint to allow them to breathe to avoid positional asphyxia. 100 To

prevent potential death from positional asphyxia, the RIPP Hobble training recommends that deputies

use the “SWARM” technique on violent prisoners which instructs deputies to take a suspect down and

then “apply a hobble restraint to the ankles and roll the subject into an upright seated position…. Position

the subject so that he or she can lean back against a fixed object. This helps relieve pressure on the

diaphragm and make breathing easier.101

        The JPSO trains deputies that the most important thing to avoid positional asphyxia is to get a

person seated upright or on their side in the recovery or modified recovery position once it is safe to do

so.102 The JPSO does not train regarding a specific amount of time that deputies can restrain a subject in

the prone position, but that deputies should immediately put a subject into the recovery position once it

is safe to do so to relieve the compression and dangers of positional asphyxia.103

        In RIPP Hobble training, JPSO trains it deputies that they can control a suspect in the recovery

position.104 JPSO trains deputies that a significant factor in gaining control of a person being restrained

in the prone position is whether they have been handcuffed. 105 JPSO trains its deputies that to decrease

the risks associated with prone restraint, the remedy is simple – get pressure of the back.106 Sgt. Pizzolato

acknowledged that if you have 6 deputies on a scene, even if the subject’s legs are not restrained, this is




99
   R. Doc. 144-3 - Pizzolato Dep., p. 64:9-12 - (Q. When do you train them to put them in the recovery position? A. I train
them never to leave anybody in a prone position); Id. at 68:1-2 – (A. I train to not leave somebody in a prone position).
100
    Id. at 63:15-18.
101
    Ex. 10 – RIPP Hobble Training, pp. 46-47.
102
    R. Doc. 144-3 - Pizzolato Dep., 76:5-77:6.
103
    Id. at 70:24-71:5; 71:15-72:9.
104
    Id. at 62:25-63:2.
105
    Id. at 69:16-22.
106
    Id. at 66:4-8.



                                                            17
a sufficient number of deputies to restrain someone in the recovery position and avoid the dangers of

positional asphyxia.107

         Further, as a matter of policy, practice and custom, JPSO does not conduct a critical incident

review or Internal Affairs investigation of in-custody deaths, including in this case, to determine whether

deputies’ actions complied with training and/or policy. 108 Instead, Sheriff Lopinto, in his official

capacity, reviewed the videotape of the encounter between EP and JPSO deputies and found that the

deputies actions were consistent with and complied with the JPSO’s policies, practices, customs and

training during their encounter with EP.109 No deputy was disciplined or subject to any counseling or

re-training as a result of their actions in this incident and their behavior was ratified by the Sheriff. As

such, the actions of the Individual Defendants during their encounter with EP represent the actual, de

facto policies, practices, customs and training of the JPSO in all respects.

13.      The JPSO trains its Deputies in the use of the T.A.R.P. (Total Appendage Restrain
         Procedure) technique. Id., at 73, 85, 87-95.

         It is disputed that the JPSO provides training on the T.A.R.P. The T.A.R.P. (Total Appendage

Restraining Procedure) is referred to in JPSO Standard Operating Procedure 8 – Restraining Devices and

Defensive Devices. However, JPSO does not provide training on its written policies and, instead,

deputies are required to read and acknowledge that they understand the JPSO policies.110 Further, the

T.A.R.P. is not mentioned in the RIPP Hobble training.111

         Further, as a matter of policy, practice and custom, JPSO does not conduct a critical incident

review or Internal Affairs investigation of in-custody deaths, including in this case, to determine whether


107
    R. Doc. 144-3 - Pizzolato Dep., 90:21-94:19.
108
    Exhibit 1 - Blackwell Dep., 18:12-19:9; 23:12-25; 24:6-8; 26:2-9; 30:3-17; 56:9-13; R. Doc 21-4 – Lopinto Response to
Interrogatory # 4 & 6, pp. 2-13.
109
    R. Doc. 150 – 150-5 – Plaintiffs’ Motion for Partial Summary Judgment on Ratification.
110
    R. Doc. 144-3 - Pizzolato Dep., 30:4-13 (Q. I call that a read and sign. They have to acknowledge that they have gotten it,
and they have to comply with it, correct? A. Yes. Q. And then during instruction, some policies may be brought up, but we
don't have a class on the Jefferson Parish Sheriff's Office policies where you take a written test when you are done? A.
Correct.); R. Doc. 142-3 - Pitfield Dep., 89:12-19; Ex. 4 - Vaught Dep., 72:6-19; Ex. 5 - Merhtens Dep., 29:1 – 30:6; R. Doc.
105-9 - Vega Dep., 59:14-25;
111
    Ex. 10 - RIPP Hobble Training Power Point.



                                                             18
deputies’ actions complied with training and/or policy. 112 Instead, Sheriff Lopinto, in his official

capacity, reviewed the videotape of the encounter between EP and JPSO deputies and found that the

deputies actions were consistent with and complied with the JPSO’s policies, practices, customs and

training during their encounter with EP.113 No deputy was disciplined or subject to any counseling or

re-training as a result of their actions in this incident and their behavior was ratified by the Sheriff. As

such, the actions of the Individual Defendants during their encounter with EP represent the actual, de

facto policies, practices, customs and training of the JPSO in all respects.

14.     The JPSO trains its Deputies in the use of the RIPP hobble (restraining device for dealing
        with combative persons). Id., at 35-39, 52-53, 87-95, 135.

        It is undisputed that the JPSO provides some training on the “use of the RIPP Hobble.”

        It is disputed that the training is sufficient to avoid constitutional violations or that JPSO requires

deputies to comply with this training based on the following:

        Sgt. Pizzolato was JPSO’s corporate representative on training who taught use of force, de-

escalation, and the RIPP hobble.114 Sgt. Pizzolato’s training did not include training for dealing with

persons with intellectual disabilities, including autism, or compliance with the ADA.115 Instead, Sgt.

Voltolina was the JPSO’s corporate representative on training regarding compliance with the ADA/RA,

including the identification and handling of persons with disabilities in crisis.116 Sgt. Voltolina was also

JPSO’s corporate representative on “how to handle a person who has mental illness or disability,

including autism and any accommodations provided to EP.117

        Sgt. Voltolina testified that the JPSO does not provide training on the use of force or restraining

procedures when dealing with autistic persons,118 does not incorporate any training concerning the RIPP


112
    Ex. 1 - Blackwell Dep., 18:12-19:9; 23:12-25; 24:6-8; 26:2-9; 30:3-17; 56:9-13; R. Doc 21-4 – Lopinto Response to
Interrogatory # 4 & 6, pp. 2-13.
113
    R. Doc. 150 – 150-5 – Plaintiffs’ Motion for Partial Summary Judgment on Ratification.
114
    R. Doc. 144-3 - 7:8-8:25.
115
    Id. at 117:4-6 (Q. You don't provide any training on autism yourself. This isn't your topic of autism? A. Correct).
116
    R. Doc. 151-9 - Voltolina Dep., 18:2-14.
117
    Id. at 18:2-14.
118
    Id. at 44:14-45:3; 45:23-46:7; 63:1-8.



                                                          19
Hobble device when providing training on autistic persons,119 and does not cover any specific risks to

autistic persons of prone restraint or positional asphyxia due to autism.120

        During RIPP Hobble training, JPSO trains deputies to never leave suspects in the prone position

to avoid positional asphyxia.121 JPSO trains its deputies to place persons in the recovery position (on

side or seated upright) after prone restraint to allow them to breathe to avoid positional asphyxia.122 With

respect to the prone position, JPSO trains it deputies the following: 1) the prone position can cause

respiratory compromise;123 2) placing weight on a person’s back can restrict breathing and the bellows

action;124 3) prone restraint causes the diaphragm muscle to be compressed against the ground which

restricts breathing;125 4); this restriction on breathing can impact the exchange of gases (O2/CO2) in the

lungs and result in oxygen deficiency;126 and 5) when oxygen deficiency occurs, a person may struggle

more violently.127

        To prevent potential death from positional asphyxia, the RIPP Hobble training recommends that

deputies use the “SWARM” technique on violent prisoners which instructs deputies to take a suspect

down and then “apply a hobble restraint to the ankles and roll the subject into an upright seated

position…. Position the subject so that he or she can lean back against a fixed object. This helps relieve

pressure on the diaphragm and make breathing easier.”128

        The JPSO trains deputies that the most important thing to avoid positional asphyxia is to get a

person seated upright or on their side in the recovery or modified recovery position once it is safe to do

so.129 The JPSO does not train regarding a specific amount of time that deputies can restrain a subject in


119
    R. Doc. 151-9 - Voltolina Dep., 87:11-18.
120
    Id. at 93:22-94:13; Ex. 2 - Debbaudt Report, pp. 7-10.
121
    R. Doc. 144-3 - Pizzolato Dep., 64:9-12 - (Q. When do you train them to put them in the recovery position? A. I train
them never to leave anybody in a prone position); Id. at 68:1-2 – (A. I train to not leave somebody in a prone position).
122
    Id. at 63:15-18.
123
    Id. at 65:18-20.
124
    Id. at 63:8-63:19.
125
    Id. at 66:19-67.
126
    Id. at 63:11-14.
127
    Id. at 68:14-23.
128
    Ex. 10 – RIPP Hobble Training, pp. 46-47.
129
    R. Doc. 144-3 - Pizzolato Dep., 76:5-77:6.



                                                            20
the prone position, but that deputies should immediately put a subject into the recovery position once it

is safe to do so to relieve the compression and dangers of positional asphyxia.130

        In RIPP Hobble training, JPSO trains it deputies that they can control a suspect in the recovery

position.131 JPSO trains deputies that a significant factor in gaining control of a person being restrained

in the prone position is whether they have been handcuffed. 132 JPSO trains its deputies that to decrease

the risks associated with prone restraint, the remedy is simple – get pressure of the back.133 Sgt. Pizzolato

acknowledged that if you have 6 deputies on a scene. Even if the subject’s legs are not restrained, this is

a sufficient number of deputies to restrain someone in the recovery position and avoid the dangers of

positional asphyxia.134

        Sgt. Pizzolato acknowledged that everyone who is provided RIPP Hobble training is provided a

RIPP Hobble.135 Deputies Pitfield, Vaught, Guidry and Vega had RIPP Hobble training but did not have

a RIPP Hobble on the date of the incident.136 Deputy Mehrtens received a RIPP Hobble training and

received a RIPP Hobble but did not use it on the date of the incident.137 Deputies Estrada and Gaudet had

RIPP Hobble training and a RIPP hobble on the scene on the date of the incident but did not use it. 138

Further, as a matter of policy, practice and custom, JPSO does not conduct a critical incident review or

Internal Affairs investigation of in-custody deaths, including in this case, to determine whether deputies’

actions complied with training and/or policy. 139 Instead, Sheriff Lopinto, in his official capacity,

reviewed the videotape of the encounter between EP and JPSO deputies and found that the deputies’




130
    R. Doc. 144-3 - Pizzolato Dep., 70:24-71:5; 71:15-72:9.
131
    Id. at 62:25-63:2.
132
    Id. at 69:16-22.
133
    Id. at 66:4-8.
134
    Id. at 90:21-94:19.
135
    Id. at 88:14-23.
136
    R. Doc. 142-3 - Pitfield Dep., 48:4-14; Ex. 4 - Vaught Dep., 92:8-7; 94:20-21; Ex. 6 - Guidry Depo., 41:18-25; 43:20-25;
R. Doc. 105-9 - Vega Depo, 164:22-165:8.
137
    Ex. 5 - Mehrtens Dep., 34:24-35:7.
138
    Ex. 7 - Estrada Dep., 24:16-23; Ex. 8 - Gaudet Dep., 69:7-15
139
    Ex. 1 - Blackwell Dep., 18:12-19:9; 23:12-25; 24:6-8; 26:2-9; 30:3-17; 56:9-13; R. Doc 21-4 – Lopinto Response to
Interrogatory # 4 & 6, pp. 2-13.



                                                            21
actions were consistent with and complied with the JPSO’s policies, practices, customs and training.140

No deputy was disciplined or subject to any counseling or re-training as a result of their actions in this

incident and their behavior was ratified by the Sheriff. As such, the actions of the Individual Defendants

during their encounter with EP represent the actual, de facto policies, practices, customs and training of

the JPSO in all respects.

15.     The JPSO trains its Deputies in dealing with persons with emotional and intellectual
        challenges, including autistic persons. See Corporate Deposition of JPSO Sergeant
        Voltolina, attached as Exhibit 2.
        It is undisputed that the JPSO provides some training on “dealing with persons with emotional

and intellectual challenges, including autism.”

        It is disputed that the training is sufficient to avoid constitutional violations or that JPSO requires

deputies to comply with this training based on the following:

        In 2018, Sgt. Voltolina began preparing a training module entitled “Autism Awareness” for Crisis

Intervention Training (CIT).141 Sgt. Voltolina noted that he began working on the Autism Awareness

training in 2018 “because of the need for it in law enforcement” and there was an awareness at that time

that law enforcement would be interacting with persons with autism “and that created special needs and

situations for officers to be trained on.”142 This training has been available since 2018, but it has never

been used by JPSO.143

        Sgt. Voltolina testified that the JPSO provided a training course on autism in conjunction with

Chantrell Hunt from the Jefferson Parish Coroner’s Office (JPCO).144 This training is incorporated into

a 2-hour block of training during the CIT program which is a total a 40 or 48 hours depending on whether

the training is provided to either new recruits or veteran officers.145 Sgt. Voltolina testified that deputies



140
    R. Doc. 150 – 150-5 – Plaintiffs’ Motion for Partial Summary Judgment on Ratification.
141
    R. Doc. 151-9 - Voltolina Dep., 34:11-35:1; 38:23-6; 40:25-42:8.
142
    Id. at 45:23-46:7.
143
    Id. at 44:14-45:3.
144
    Id. at 48:3-9.
145
    Id. at 100:22-101:9.



                                                           22
who are trained on these topics do not receive any policy guidance or written materials. 146 The training

is simply provided via PowerPoint on a screen.147 Sgt. Voltolina also testified that the JPSO provides

access to other voluntary training on autism from outside venders like Autism Now.148 These Power

Points are directed at the general statistics concerning autism and characteristics of autism.

        However, the JPSO does not provide training on the use of force or restraining procedures when

dealing with autistic persons,149 does not incorporate any training concerning the RIPP Hobble device

when providing training on autistic persons,150 and does not cover any specific risks to autistic persons

of prone restraint or positional asphyxia due to autism.151

        The Individual Defendants did not have any training on dealing with autistic persons.152

        After review of this training, Plaintiffs’ expert, Dennis Debbaubt, opined that “it was both

foreseeable and predictable that there will be encounters between members of the JPSO and persons with

severe autism experiencing a sensory overload or ‘outburst’… that “deputies may need to physically

restrain.”153 Mr. Debbaubt opined that “JPSO deputies did not have proper training or guidance from

appropriate policies on how to deal with persons suffering from autism, including the significant risks of

utilizing prone restraint on such persons, especially if they are obese and non-verbal, and failed to make

any reasonable and necessary accommodations for [E.P.]’s disability, contrary to nationally recognized

standards for law enforcement encounters with persons suffering from autism.”154

        Further, as a matter of policy, practice and custom, JPSO does not conduct a critical incident

review or Internal Affairs investigation of in-custody deaths, including in this case, to determine whether


146
    R. Doc. 151-9 - Voltolina Dep., 30:1-25.
147
    Id. at 30:23-25.
148
    Id. at 55:15-56-6.
149
    Id. at 44:14-45:3; 45:23-46:7; 63:1-8.
150
    Id. at 87:11-18.
151
    Id. at 93:22-94:13; Ex.10 - Debbaudt Report, pp. 7-10.
152
    R. Doc. 142-3 Pitfield Dep., 155:7-13; Ex. 4 - Vaught Dep., 75:3-12; Ex. 5 -Mehrtens Dep., 21:10-14; 42:3-24; Ex. 6 -
Guidry Dep., 29:17-23; R. Doc 105-9 - Vega Dep., 76:18-21; Ex. 7 - Estrada Dep., 20:22-24; 21:17-20; Ex. 8 – Gaudet Dep.,
48:12-15; 49: 11-17 (Deputy Gaudet testified that he received some training on autism during CIT classes but no such training
from the coroner’s office); Ex. 27 – Deputies’ Training Resumes.
153
    Ex. 2 - Debbaubt Expert Report, p. 15, ¶ 5.
154
    Ex. 2 - Debbaubt Expert Report, p. 16, ¶ 7.



                                                            23
deputies’ actions complied with training and/or policy.155 Instead, Sheriff Lopinto, in his official

capacity, reviewed the videotape of the encounter between EP and JPSO deputies and found that the

deputies actions were consistent with and complied with the JPSO’s policies, practices, customs and

training during their encounter with EP.156         No deputy was disciplined or subject to any counseling or

re-training as a result of their actions in this incident and their behavior was ratified by the Sheriff. As

such, the actions of the Individual Defendants during their encounter with EP represent the actual, de

facto policies, practices, customs and training of the JPSO in all respects.

                                    Plaintiffs’ Statement of Material Facts

        1.       Sheriff Lopinto has testified under oath that the JPSO deputies acted in compliance with

the policies, practice, customs and training of the JPSO during their interactions with E.P. He has

approved and ratified their actions during their encounter with E.P. as being the de facto policy, practices,

customs and training of the JPSO.157

        2.       The assertion in Sheriff Lopinto’s Memorandum in Support of Motion for Partial

Summary Judgment that EP “never stopped resisting their (deputies) efforts with extreme violence” is

directly contradicted by the security videotape from Laser Tag, which Sheriff Lopinto personally

reviewed. 158 As the videotape reveals, it is untrue that EP “never stopped resisting their efforts with

extreme violence” towards the deputies.159

        3.       In addition, the assertion in Sheriff Lopinto’s Memorandum in Support of Motion for

Partial Summary Judgment that EP “never stopped resisting their (deputies) efforts with extreme violence”

is directly contradicted by the following other evidence:



155
    Ex. 1 - Blackwell Dep., 18:12-19:9; 23:12-25; 24:6-8; 26:2-9; 30:3-17; 56:9-13; R. Doc 21-4 – Lopinto Response to
Interrogatory # 4 & 6, pp. 2-13.
156
    R. Doc. 150 – 150-5 – Plaintiffs’ Motion for Partial Summary Judgment on Ratification.
157
    R. Doc. 21-4 (Lopinto Discovery Responses, Response to Interrogatory No. 5) at 11-12; R. Doc. 150-150-5 (Plaintiffs’
Motion for Partial Summary Judgment on Ratification).
158
    R. Doc 144-1 – Memo. in Support of MPSJ, p. 4.
159
    R. Doc. 154-3 – Laser Tag Security Video (Manually Filed) and can be assessed at this dropbox link:
https://www.dropbox.com/scl/fo/13u3a5brur1alkvjcscmg/h?dl=0&rlkey=w4it5r13jbyhu1m240sxjwrf3



                                                          24
         a.      Deputy Vaught said when he handcuffed EP, EP was not resisting and was “moving
                 little bit but he wasn’t trying to resist or pull his- -pull his arm away.” 160 Detective
                 Vaught said EP did not resist after he was handcuffed,161 and he did not place EP in a
                 recovery position after he was handcuffed because he went to speak with Mr. Parsa.
                 Detective Vaught said he would not have left Deputy Pitfield alone if he did not believe
                 it was safe to do so.162 Detective Vaught said it was possible for the 6 deputies to put EP
                 in a recovery position.163

         b.      Deputy Mehrtens said when he arrived, EP “was face down on the ground, he had two (2)
                 sets of handcuffs and his hands were handcuffed behind his back, with Deputy Pitfield
                 sitting on his buttocks area.”164 Deputy Mehrtens said when he arrived, “there wasn't,
                 there wasn't a struggle, it didn't appear to be a struggle.”165 Deputy Mehrtens further
                 stated, “I didn't see a struggle so there was no need for me to engage him.”166

         c.      Deputy Vega said when he arrived, Deputy Pitfield was on EP’s “butt area,” and he
                 believed Deputy Pitfield had control.167 Deputy Vega switched positions with Deputy
                 Pitfield to continue the prone restraint of EP. During the transfer, Deputy Vega noted that
                 EP was calm and not offering any resistance. 168 While restraining EP in the prone
                 position, Deputy Vega used a pain compliance technique on EP by elevating EP’s
                 handcuffed hands behind his back.169 While Deputy Vega denies he used a choke hold,
                 he did acknowledge that he put his forearm underneath EP’s chin, while connecting his
                 hands.170 However, the forensic evidence indicates that Deputy Vega did utilize a forearm
                 bar choke hold which impacted EP’s ability to breathe.171

         d.      Deputy Guidry said she was not actively involved in controlling EP, and when she
                 arrived, Deputy Pitfield was trying to control EP. Deputy Pitfield said he “pretty much”
                 had EP under control and there was nothing she could do.172 Further, Deputy Guidry said
                 if a person is in a recovery position and actively resisting, deputies would be able to control
                 the person.173

         e.      Deputy Gaudet did not see EP violently struggle between 14:00 – 15:12 on the video and
                 he did not see a struggle when Deputy Vega exchanged positions with Deputy Pitfield at


160
    R. Doc. 155-4 - Vaught statement at 5.
161
    Ex. 4 - Vaught Dep., at 122.
162
    Id. at 123.
163
    Id. at 110.
164
    R. Doc. 155-2 - Mehrtens Statement, p. 3.
165
    Id.
166
    Id. at 4.
167
    R. Doc. 18-5 - Vega Statement, p. 2.
168
    Id. at 5.
169
    R. Doc. 155-2 - Mehrtens Statement at 6 (“Deputy Vega has technique, you know, when somebody starts struggling, you
have handcuffs on them, you just begin to slightly elevate the arms so that you can just maintain control of the upper torso,
um, he begins doing that….”).
170
    R. Doc. 18-5 - Vega Statement at 6; R. Doc. 105-9 - Vega Dep., 129:16-130:24.
171
    R. Doc. 142-7 - Sperry Report Excerpt - (“The physical findings at autopsy confirm that Vega utilized a “forearm bar”
choke hold which significantly impacted [E.P.]’s airway and ability to breathe.”)
172
    Ex. 6 - Guidry Dep., 49-50.
173
    Id. at 74.



                                                             25
                 16:00 on the video.174

         f.      Deputy Estrada testified that when he arrived, two detectives, Deputy Vega and Deputy
                 Pitfield were already at the scene.175 Deputy Estrada said he did not see a struggle where
                 he believed Deputy Pitfield needed his help. 176 Deputy Estrada said he did not see a
                 struggle when Deputy Vega transitioned with Deputy Pitfield.177

         g.      Sergeant Dowling who performed a homicide investigation of this incident and was
                 involved in taking many of the deputies’ statements also acknowledged that EP was calm
                 during many periods of time.178

         h.      Sheriff Lopinto admitted after watching the tape that there were several occasions during
                 the prone restraint where the deputies could have placed EP in the recovery position
                 including: 1) after Detective Vaught arrived and assisted Pitfield in cuffing EP behind his
                 back;179 2) after other deputies arrived and there were five officers on the scene during
                 video between 14:33 – 15:00;1803) on the video tape from 15:00 – 15:28, Sheriff Lopinto
                 stated that it was not physically impossible to place EP into the recovery position and
                 noted that the issue was “whether or not it was reasonable” to place him in the recovery
                 position;181 4) on the video tape from 16:00 – 16:29, Sheriff Lopinto acknowledged that
                 there was no resistance which would preclude placing EP in the recovery position182 and
                 that “there is nothing other than their [deputies] observances that precludes them from
                 putting him in the recovery position;”183 and 5) after review of the video tape, Sheriff
                 Lopinto provided the following response with respect to whether EP should have been
                 placed in the recovery position: “And, again as you are pausing it second by second by
                 second, it makes it look like there is numerous opportunities, but if you let it run out from
                 the changes of, you know, his reactions 30 seconds apart, 30 seconds apart, you know, I'm
                 going to tell you no at this moment, yes at this moment. No at this moment, yes at this
                 moment, right. And so, you know, you have the ability to pause every second and ask me
                 that same question, and I'm going to go back to the one where he is resisting and say this
                 is why they weren't.” 184 Significantly, Sheriff Lopinto could not state whether any
                 movements by EP while restrained were efforts to resist, efforts to breathe, or were caused
                 by a lack of oxygen caused by the effects of the prone restraint on an obese suspect.185




174
    Ex. 8 - Gaudet Dep., 96-98.
175
    Ex. 7 - Estrada Dep., 93.
176
    Id. at 95.
177
    Id. at 100.
178
    R. Doc. 155-5 - Dowling Dep. at 112:14-19 (“Q. The interviews, like Deputy Vega, when he gave his interview, he said
that when they moved to switch out, that Mr. Parsa wasn't offering any resistance, correct? A. That's when they realized that
he had stopped resisting, yes.”); Id. at 122:6-8 (“Q. And doesn't he state when he got there he put his handcuff on, and there
was no resistance? A. No resistance to the handcuff.”
179
    R. Doc. 150-5 - Lopinto Dep., 222.
180
    Id. at 226.
181
    Id. at 211-215.
182
    Id. at 217-218.
183
    Id. at 225.
184
    Id. at 235.
185
    Id. at 235-237.



                                                             26
         4.       The JPSO has written policies which are outdated, unreasonable, inadequate and fail to

confirm to generally accepted law enforcement standards and practices.186 In particular, the policies fail

to identify and provide policy guidance regarding positional asphyxia, prone restraint, the Americans

with Disabilities Act, dealing with persons with intellectual disabilities/autism and the investigation of

critical incidents and officer misconduct. Given the known dangers of the risk of death during prone law

enforcement restraint, numerous national law enforcement groups and publications have provided written

policy guidance on these specific issues which were known and available to law enforcement, such as

the JPSO.187

         5.       Sheriff Lopinto acknowledged that the dangers of prone restraint and positional asphyxia

have been known to law enforcement since the 1990s 188 which is consistent with the available law

enforcement literature.189

         6.       The JPSO does not provide training on its written policies. Instead, deputies are required

to read and acknowledge that they understand the policies.190

         7.       JPSO SOP 8 entitled Restraining Devices & Defensive Devices Policy requires deputies

to take necessary precautions to protect the lives and safety of persons in custody and requires the use of

the Total Appendage Restraining Procedure (TARP) with extremely violent prisoners.191




186
    R. Doc. 142-8 - Noble Expert Report, ¶¶ 77.
187
    Ex. 16 - United States Department of Justice, National Institute of Justice, Positional Asphyxia—Sudden Death, June 1995;
Ex. 19 - INTERNATIONAL ASSOCIATION OF CHIEFS OF POLICE, TRAINING KEY NO. 678, AUTISM: MANAGING FIELD CONTACT
(2013); EX. 17 - IACP LAW ENFORCEMENT POLICY CENTER, MODEL POLICY, CONCEPTS AND ISSUES PAPER, NEED TO KNOW
– INTERACTIONS WITH INDIVIDUALS WITH INTELLECTUAL AND DEVELOPMENTAL DISABILITY (AUGUST 2017); EX. 18 - IACP
LAW ENFORCEMENT POLICY CENTER, MODEL POLICY, CONCEPTS AND ISSUES PAPER, AND NEED TO KNOW – INVESTIGATION
OF OFFICER-INVOLVED SHOOTING AND OTHER SERIOUS INCIDENTS (APRIL 2019).
188
    R. Doc. 150-5 - Lopinto Dep., 64:19-65:20.
189
    R. Doc. 142-8 - Noble Expert Report, ¶¶ 43-51.
190
    R. Doc. 144-3 - Pizzolato Dep., 30:4-13 (Q. I call that a read and sign. They have to acknowledge that they have gotten it,
and they have to comply with it, correct? A. Yes. Q. And then during instruction, some policies may be brought up, but we
don't have a class on the Jefferson Parish Sheriff's Office policies where you take a written test when you are done? A.
Correct.); R. Doc. 142-3 - Pitfield Dep., 89:12-19; Ex. 4 - Vaught Dep., 72:6-19; Ex. 5 - Merhtens Dep., 29:1 – 30:6; R. Doc.
105-9 - Vega Dep., 59:14-25.
191
    Ex. 9 – JPSO SOP 8 – Restraining Devices, 8(a) and 8(d)



                                                             27
        8.       Prior to 2018, JPSO knew that its officers would encounter autistic persons in the field

and needed training on how to deal with autistic persons.192

        9.       JPSO’s training notes that: 1) according to the CDC, 1 in 59 children have autism; 2)

according to the Autism Group, 1 in 40 children have autism; and 3) autism is 4 times more likely in

males.193

        10.      Autistic persons, like EP, are at increased risk of death from positional asphyxia based on

obesity, inability to communicate and underdeveloped trunk muscles.194

        11.      The JPSO provides no training on restraining persons with autism,195 does not incorporate

anything about the RIPP Hobble device training with autistic persons,196 and does not cover any specific

risks to autistic persons of prone restraint or positional asphyxia due to autism.197

        12.      The Individual Defendants did not have any training on autism.198

        13.      From October 26, 2017 through March 2, 2021, there were 19 in-custody deaths involving

persons in the custody of JPSO. JPSO did not conduct an Internal Affairs investigation or critical incident

review of these in-custody deaths to determine compliance with policies, practices, customs or

training.199

        14.      There was no Internal Affairs investigation regarding the death of E.P.200


192
    R. Doc. 150-5 - 27:13-17 (Q…You knew by 2014 that people with intellectual disabilities are becoming an issue with law
enforcement, correct? A. I think it was before that, also, but yeah.) R. Doc. 151-9 - Voltolina Dep., p. 46:2-18; 110:4-111:6
(Q. Okay. Would you agree that autism is a prevalent issue that officers are likely to encounter in their careers in Jefferson
Parish? A. I think any law enforcement officer has the potential of dealing with someone with autism when one in 54 males
are diagnosed) (Q. So it is important for JPSO officers to be trained in how to handle persons with autism and the particular
risk factors we've discussed today, because they may interact with those kind of persons in Jefferson Parish, agreed? A. Yes.
That's why we train them).
193
    Ex. 28 – Autism Awareness Power Point.
194
    Ex. 3 – Dr. Sperry Report at 9-13; Ex. 2 - Debbaubt Report at 7-12, 15-17; Ex. 19 - IACP Training Key # 678.
195
    R. Doc. 151-9 – Voltolina Dep., 63:1-8 (Q. Going back to the content of Deescalation with Autism from the coroner’s
office, does that training deal specifically with restraint of persons with autism? A. No.).
196
    Id. at 87:11-18.
197
    Id. at 93:22-94:13.
198
    R. Doc. 142-3 Pitfield Dep., 155:7-13; Ex. 4 - Vaught Dep., 75:3-12; Ex. 5 -Mehrtens Dep., 21:10-14; 42:3-24; Ex. 6 -
Guidry Dep., 29:17-23; R. Doc 105-9 - Vega Dep., 76:18-21; Ex. 7 - Estrada Dep., 20:22-24; 21:17-20; Ex. 8 – Gaudet Dep.,
48:12-15; 49: 11-17 (Deputy Gaudet testified that he received some training on autism during CIT classes but no such training
from the coroner’s office); Ex. 27 – Deputies’ Training Resumes.
199
    R. Doc. 21-4, Lopinto Response to Interrogatory No. 4 at 2-11.
200
    Ex. 1 - Blackwell Dep., 56:9-13.



                                                             28
        15.      Sgt. Keith Dowling was assigned by JPSO to perform the homicide investigation

regarding the death of EP.201 Sgt. Dowling is a member of the Gun Violence Unit and not the Homicide

Unit.202

        16.      Prior to working at the JPSO, Sgt. Dowling worked for: 1) St. Bernard’s Parish Sheriff’s

Office and was the subject of a couple of excessive force complaints;203 and 2) St. Tammany Parish

Sheriff’s Office where he was the subject of numerous complaints and was discharged.204 Further, while

employed by St. Tammany, Sgt. Dowling was arrested for stalking his ex-wife’s boyfriend by phone205

and received a citation for created a disturbance.206

        17.      On March 1, 2019, Sgt. Dowling, along with Deputies Vega, Baldassaro and Broussard,

were involved in an incident with Jacobi Cage which resulted in a lawsuit for civil rights violations and

excessive force. 207 This case remained pending from 2/24/20 – 10/4/21 when it was settled by the

Sheriff.208 During the time when Sgt. Dowling was the lead investigator regarding the events which led

to the death of E.P, which involved Deputy Vega, both Sgt. Dowling and Deputy Vega were Co-

Defendants in the civil rights lawsuit filed by Jacobi Cage.209

        18.      With respect to the investigation of the death of EP, Sgt. Dowling acknowledged that his

investigation was focused on whether the deputies committed a crime.210 Sgt. Dowling acknowledged

that his report did not determine whether the deputies violated the policies, practices, customs and

training of the JPSO or whether there needed to be changes made to the policies and/or training, but was


201
    R. Doc. 155-5 - Dowling Dep., 62:24-65:9.
202
    R. Doc. 150-5 - Lopinto Dep., 136:11-137:16
203
    R. Doc. 155-5 – Dowling Dep., 15:10-18
204
    Ex. 25 - Dowling Discharge Papers from St. Tammany Sheriff’s Office reveal the following disciplinary actions: 1) 6/23/09
– Damage to Patrol Car for which he received a warning; 2) 4/5/09 – 5/9/09 – Willful Disregard of Agency Rules for failing
to qualify with his weapon for which he was suspended for 40 hours; 3) 5/10/09 – Criminal/Immoral Conduct for a disturbance
with his wife for which he was suspended for 40 hours; 4) 6/29/09 – Unbecoming Conduct; and 5) 8/13/09 – Discourteous
Treatment of the Public, Incompetence, and Unprofessional Conduct for which he was terminated.
205
    R. Doc. 155-5 - Dowling Dep., 24:14-17.
206
    Id. at 26:4-27:8.
207
    R. Doc. 155-5 - Dowling Dep., 49:15-50:6; Cage v. Lopinto, et al., 2:20-cv0658 (ED LA 2/24/20)
208
    Id. at 56:7-9.
209
    Id. at 49:15-50:6; Cage v. Lopinto, et al., 2:20-cv0658 (ED LA 2/24/20)
210
    Id. at 66:5-17; 90:25-91:2.



                                                            29
focused on whether or not the deputies had committed a crime.211 During Dowling’s investigation, he

did not investigate whether the deputies carried RIPP Hobbles or whether the deputies should have

utilized the Total Appendage Restraining Procedure (TARP).212

        19.      Prior to the death of E.P. on January 19, 2020, JPSO was on notice regarding the serious

risk of in-custody death by positional asphyxia involving JPSO use of restraints. JPSO has been sued in

the past for cases involving death by positional asphyxia, including Williams v. Lee, Case No. 89-11943

(Civil District for the Parish of Orleans) (judgment in favor of Plaintiff); Sullen v. Lee, et al., Case No.

95-0767 (USDC ED LA) (settled); Kahn v. Lee, Case No. 07-7272 (USDC ED LA) (SJ for Defendant);

Boute v. Lopinto, Case No. 19-9613 (USDC ED LA) (settled). The JPSO did not conduct an Internal

Affairs investigation or critical incident review of any of the previous in-custody death cases.213

        20.      On June 19, 1987, Joel Williams died of positional asphyxia while in the custody of JPSO

deputies, a state court lawsuit was filed and judgment was entered against the JPSO Defendants.214 There

was no Internal Affairs investigation of this incident.215

        21.      On March 13, 2004, Rene Alexander died of positional asphyxia while in the custody of

the JSPO, a federal civil rights lawsuit was filed and the case settled.216 There was no Internal Affairs

investigation of this incident. .217

        22.      On May 10, 2018, Keevan Robinson was a 22-year-old African-American who died

during a physical altercation with JPSO officers on May 10, 2018.218 Mr. Robinson’s cause of death was

Compression Asphyxia and Blunt Force Injuries and the manner of death was ruled a Homicide. 219




211
    Id. at 73:8-14
212
    Id. at 107:13-17; 107:25-108:2
213
    Ex. 1 - Blackwell Dep., 27:24-16; 110:9-23.
214
    Ex. 22 - Williams v. Lee, et al., 633 So.2d 976, La.App. 4 Cir., Mar. 15, 1994, writ denied, 637 So.2d 502 (June 1994);
Case No. 89-11943 (Civil District for the Parish of Orleans) – Judgment.
215
    Ex. 1 - Blackwell Dep., 27:24-16; 110:9-23.
216
    Ex. 23 - Sullen v. Lee, Case No. 85-0767 (ED LA) – Complaint.
217
    Ex. 1 - Blackwell Dep., 27:24-16; 110:9-23.
218
    Ex. 20 - Keeven Robinson Coroner’s Report, p. 1.
219
    Id.



                                                             30
During the course of the physical altercation with JPSO deputies, Mr. Robinson was restrained in the

prone position and struck multiple times.220 As a result of the death of Keevan Robinson, a lawsuit was

filed against the JPSO and numerous deputies. 221 This case was settled by JPSO. 222 There was no

Internal Affairs investigation of this incident. 223 The JPSO did not perform an Internal Affairs

investigation of this case to determine whether the deputies complied with the JPSO’s policies, practice,

customs or training.224 Sheriff Lopinto did not review the Keeven Robinson homicide investigation.225

        23.      Sheriff Lopinto did not review the homicide investigation involving E.P. 226 Sheriff

Lopinto did not review the statements of the deputies and the Plaintiffs concerning this incident. 227

Sheriff Lopinto did not even review the autopsy report regarding E.P.228 He did review the videotape of

the encounter between EP and JPSO deputies and approved of and ratified their actions as consistent

with and in conformity with JPSO policies, practices, customs and training.

                                                            RESPECTFULLY SUBMITTED,

                                                            WILLIAM MOST (BPR # 36914)
                                                            Most & Associates
                                                            201 St. Charles Ave., Ste. 114 #101
                                                            New Orleans, LA 70170
                                                            Tel: (504) 509-5023
                                                            williammost@gmail.com

                                                            /s/ Andrew C. Clarke
                                                            Andrew C. Clarke (TN BPR # 15409)
                                                            The Cochran Firm Midsouth
                                                            One Commerce Square, Suite 1700
                                                            (901) 523-1222 (Telephone)
                                                            aclarke@cochranfirmmidsouth.com




220
    Ex. 21 - Keeven Robinson Homicide Report, pp. 38-39, 42, 54, 85, 88.
221
    Ex. 24 - Boute v. Lopinto, Case No. 19-9613 (USDC ED LA))
222
    R. Doc. 150-5 0 Lopinto Dep., 61:9-18.
223
    Ex. 1 - Blackwell Dep., 27:24-16; 110:9-23
224
    R. Doc. 21-3, Lopinto Discovery Response at 7.
225
    Id. at 6:6-9; 59:24-61:8
226
    R. Doc. 150-5 - Lopinto Dep., 5:24-6:5; 150:21-151:3.
227
    Id. at 137:17-138:24; 176:9-177:1.
228
    Id. at 81:1-3.



                                                           31
